            Case 2:23-cv-04135-TJS Document 34 Filed 04/03/24 Page 1 of 4




                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
JILL KATZ         ,                  :
                                     :
                  Plaintiff,         :
                                     :
      v.                             :  NO. 23cv4135
                                     :
PANERA BREAD CO.          ,          :
                                     :
                  Defendant.         :
____________________________________:

                                                      ORDER

A Settlement Conference in the above-captioned case will be held on April 19, 2024 at 10:00am
before the Honorable Scott W. Reid, United States Magistrate Judge, in Courtroom 3C, U.S.
Courthouse, 601 Market Street, Philadelphia, PA 19106.

Counsel are required to have clients with ultimate settlement authority physically
PRESENT in the courtroom for the duration of this conference.1

Counsel are directed to complete the enclosed Settlement Conference Summary to be emailed to
Ian_Broderick@paed.uscourts.gov on or before April 12, 2024. The Settlement Conference
Summary comes as an attachment to this Order for ECF subscribers.

Counsel shall review Judge Reid’s policies and procedures prior to the conference.

To the extent Counsel anticipates using the Courthouse Public WiFi, they shall review the
instructions for access attached to this Order.

                                                                         BY THE COURT:


                                                                          s/Scott W. Reid
                                                                         ______________________________
                                                                         SCOTT W. REID
                                                                         U.S. MAGISTRATE JUDGE
                                                                         267-299-7640/267-299-5075 (Fax)
                                                                         Ian_Broderick@paed.uscourts.gov




1
 Parties include all persons, corporations or other business entities, and insurance companies with an interest in the
case, and each entity with an interest in the case must attend the conference. In the case of corporate or other
business entities, the corporate official with ultimate settlement authority is required to attend. Where an insurance
company is involved, a representative with ultimate settlement authority is also required to attend.
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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
            ,                        :
                                     :
                  Plaintiff,         :
                                     :
      v.                             : NO.
                                     :
            ,                        :
                                     :
                  Defendant.         :
____________________________________:

                      SETTLEMENT CONFERENCE SUMMARY

COUNSEL ATTENDING SETTLEMENT CONFERENCE:

Name:

Address:

Phone:

Client:

CLIENT ATTENDING SETTLEMENT CONFERENCE:

Name of Individual with Ultimate Settlement
Authority who will be present at the
settlement conference:

MOTIONS PENDING:



STATUS OF DISCOVERY:




OTHER RELEVANT MATTERS:
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PRIOR OFFERS/DEMANDS:




                    ATTACH SYNOPSIS OF CASE

IDENTIFY: 1) CAUSES OF ACTION 2) PROOFS OF SAME,
AND 3)
ITEMIZATION AND PROOF OF DAMAGES CLAIMED.
COUNSEL
SHOULD ALSO INCLUDE ANY OTHER INFORMATION THAT
WOULD BE HELPFUL TO THE COURT IN EVALUATING THIS
MATTER.
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                     UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF PENNSYLVANIA

The United States District Court for the Eastern District of Pennsylvania has launched a public
wireless network specifically designed to provide attorneys with a secure and convenient means
to access essential information and resources while in the James A. Byrne U.S. Courthouse.

The public wireless network will enhance the efficiency and productivity of attorneys allowing
them to connect devices, such as laptops, tablets, and smartphones, to a reliable and secure
network, enabling quick access to case documents, legal databases, and other vital resources.

Enrollment:
   1. Navigate to our broadcasted SSID (Wi-Fi network) from your laptop of mobile device.
      SSID = ATTY_WIFI_USCOURTS.
   2. Click or tap on the SSID. You will be redirected to the Court’s splash page where you
      will need to register your email account with the captive portal for initial access (see
      below).
   3. Local IT staffing authenticates registrations for active members of the Bench and Bar on
      a daily schedule. If, within 48 hours of registration, you do not receive an email
      authorizing network access, please notify the deputy of the courtroom in which you are
      engaged.
   4. As a security measure you will be prompted to log in every 90 days with your username
      (email account) and password (self-created/contained).
